Case 1:03-cv-00918-SEB-TAB           Document 195       Filed 03/15/11       Page 1 of 5 PageID #:
                                            1324



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION



 ANNEX BOOKS, INC., NEW FLICKS, INC.,             )
 LAFAYETTE VIDEO & NEWS, INC.,                    )
 KEYSTONE VIDEO & NEWSSTAND, INC,                 )
 and SOUTHERN NIGHTS, INC.,                       )
                                                  )
                       Plaintiffs,                )
                                                  )
                        v.                        ) CASE NO. 1:03-cv-00918-SEB-TAB
                                                  )
 CITY OF INDIANAPOLIS,                            )
                                                  )
                       Defendant.                 )



                             SUPPLEMENTAL DISCOVERY ORDER

        On February 18, 2011, following a telephonic hearing, the Court issued an order granting

 in part and denying in part Defendant’s motion to compel, and granting Defendant’s request for

 an enlargement of the discovery deadline. [Docket No. 192.] On March 14, the Court conducted

 a supplemental telephonic discovery hearing to address Defendant’s contention that Plaintiffs

 had misrepresented important discovery-related information in connection with the previous

 telephonic hearing and briefing relating to Defendant’s motion to compel.

        Defendant contended at the March 14 hearing that as a result of Plaintiffs’ alleged

 misrepresentations Plaintiffs should be required to produce data maintained in software known

 as “Platinum.” The Court previously denied Defendant’s motion to compel this information to

 the extent Defendant was asking the Plaintiffs to incur the costs associated with such production.

 [Docket No. 192 at 3.] The Court expressly found, however, that production might be

 appropriate if Defendant were willing to incur these costs. The Court did not delve further into
Case 1:03-cv-00918-SEB-TAB            Document 195        Filed 03/15/11      Page 2 of 5 PageID #:
                                             1325



 this issue as it did not appear that the Defendant was willing to pay these costs. [Id.]

         Defendant used the March 14 hearing as another attempt to obtain the Platinum software

 data.1 Defendant relied upon purported misrepresentations Plaintiffs made about discovery

 documents Plaintiffs had in Cleveland but that Defendant never bothered to review. The crux of

 Defendant’s argument rests upon the following statement in the Court’s February 18 order on

 Defendant’s motion to compel:

         Plaintiffs state in their brief, and represented at the hearing, that Plaintiffs have
         approximately 40 additional boxes of documents of daily receipts for each of the
         businesses for the years 2005-2008 available for Defendant’s review and copying
         in Cleveland (where Plaintiffs’ counsel’s offices are located). Defendant does not
         dispute this representation. As of the date of the hearing, Defendant had not taken
         the opportunity to review these daily receipts.

 [Id. at 2.]

         As it turns out, there are 40 boxes or so awaiting Defendant’s review in Cleveland.

 However, the documents for 2005-2008 are not in the same format as documents produced for

 the 2002-2004 time frame. Specifically, the 2002-2004 documents contain daily receipt tallies

 for each day’s sales at each shift for each store, whereas the 2005-2008 documents are merely

 cash register tapes and credit card receipts. In other words, the earlier information is in a much

 more readily useable form than the later information. Defendant contended at the March 14

 conference that Plaintiffs “hoodwinked” Defendant into believing the information was in the

 same format. With several depositions scheduled for later this week, having that information in

 a readily useable form is of great importance to Defendant.



         1
          Defendant has appealed the February 18 order. The appeal brief discusses cost-shifting
 but again makes no suggestion that Defendant is willing to incur these costs. Likewise,
 Defendant did not express any willingness to incur these costs during the March 14 hearing. It is
 fair to presume—as the Court previously did—that Defendant wants this information only if the
 Plaintiffs will bear the costs of production.
Case 1:03-cv-00918-SEB-TAB           Document 195         Filed 03/15/11      Page 3 of 5 PageID #:
                                            1326



        Defendant’s concern and interpretation of Plaintiff’s representations are understandable.

 However, Defendant’s predicament is largely of its own making. Defendant advised the Court

 during the March 14 conference that Defendant’s counsel was leaving for Cleveland the next day

 and planned to utilize this potential trove of information for numerous depositions set for later in

 the week in Cleveland.2 Defendant cannot blame anyone but itself for the delay in examining

 these documents. More expedient review of the documents Plaintiffs offered for production

 would have revealed much sooner that, in fact, Defendant and Plaintiffs were not on the same

 page with respect to the format of the documents awaiting Defendant’s review. While Plaintiffs

 could have been more forthcoming about the format of these documents, the Court stops short of

 finding Plaintiffs made misrepresentations concerning these documents.

        Moreover, the relief Defendant claims this situation warrants—requiring Plaintiffs to

 produce the Platinum software data—is misplaced. This is so for two reasons. First, the Court

 has never said that Defendant is not entitled to obtain through discovery the Platinum software

 data. However, Plaintiffs’ submitted sworn testimony from their controller that producing the

 Platinum software would be unduly burdensome. As a result of that showing, pursuant to

 Federal Rule of Civil Procedure 26(b)(2)(B), Defendant must show good cause to justify the

 production, and the Court “may specify conditions for the recovery.” The Court specified as a

 condition for the discovery that production might be appropriate if Defendant were willing to

 incur the related discovery costs. But Defendant has repeatedly shied away from agreeing to do

 so. As a result, the relief Defendant seeks by way of this supplemental discovery hearing is

 misplaced.



        2
         As a result of the time-sensitive nature of this dispute, the Court expedited the hearing
 and disposition of this matter.
Case 1:03-cv-00918-SEB-TAB            Document 195        Filed 03/15/11       Page 4 of 5 PageID #:
                                             1327



        The second reason why the relief Defendant claims is misplaced relates to the

 information Defendant’s expert witness relied upon to calculate Plaintiffs’ $3 million damages

 claim. As the Court previously ruled, Defendant is entitled to any information Plaintiffs’ expert

 witness relied upon in making his damages calculations. [Docket No. 192 at 5.] This would

 necessarily include any information relied upon in the Platinum software data. At the March 14

 hearing, Plaintiffs contended that all information relied upon by their expert had been produced.

 It appeared to the Court, however, that Plaintiffs’ expert relied upon certain shift data for 2005

 that may not have been provided to Defendant. If so, this information—and any other

 information relied upon by Plaintiffs’ expert, wherever this information is located—must be

 produced to the Defendant in advance of the depositions set for later this week. This is

 particularly so given that one of the individuals to be deposed is Plaintiffs’ expert.

        Finally, Defendant requested additional time to complete discovery. In its prior ruling on

 Defendant’s motion to compel, the Court enlarged the discovery deadline to March 18.

 Defendant now seeks an additional 30 days of discovery beyond the date the Court sets for any

 additional discovery to be produced. As set forth above, the Court has not ordered additional

 discovery. But because it was not entirely clear that Plaintiffs produced all expert discovery as

 previously ordered, and because of the large amount of discovery Defendant needs to complete

 in such a short period of time, the Court enlarges the discovery deadline to April 1.

        Dated: 3/15/2011


                                        _______________________________
                                         Tim A. Baker
                                         United States Magistrate Judge
                                         Southern District of Indiana
Case 1:03-cv-00918-SEB-TAB   Document 195   Filed 03/15/11   Page 5 of 5 PageID #:
                                    1328



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